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                            UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
                                               Case No. 2:19-CV-00456-REB
              Plaintiff,
                                               UNITED STATES’ NOTICE OF
       vs.                                     DISMISSAL WITHOUT PREJUDICE
                                               AND STATUS UPDATE REGARDING
PROPERTY INVOLVED IN MONEY                     PARALLEL CRIMINAL CASE
LAUNDERING AND DERIVED FROM OR
TRACEABLE TO WIRE FRAUD,
INCLUDING:

REAL PROPERTIES known as:
1) 413 E. 9th Ave., Post Falls, Idaho;
2) 519 E. Walnut, Osburn, Idaho;
3) 501 E. Walnut, Osburn, Idaho;
4) 211 N. Hill Street, Smelterville, Idaho;
5) 1253 E. Garden, Osburn, Idaho; and
6) Parcel No.: 181400 (Lot 8) in Rivers
   Acreage, a platted subdivision in Mineral
   County, St. Regis, Montana;

              Defendants.




UNITED STATES’ NOTICE OF DISMISSAL WITHOUT PREJUDICE AND STATUS
UPDATE REGARDING PARALLEL CRIMINAL CASE - 1
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        Introduction

        This in rem civil forfeiture action relates to a criminal wire fraud case, United States v.

Trina Marie Welch, No. 2:20-CR-00052-DCN. This Court stayed this civil forfeiture action until

October 5, 2022, consistent with 18 U.S.C. § 981(g)(1). (ECF No. 35.) The United States files

this Notice of Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(i).

        Criminal Case Status Update

        On September 16, 2022, the Honorable Judge Nye sentenced Trina Welch to 51 months

of prison for wire fraud and remanded her to custody. (No. 2:20-CR-00052, ECF No. 88.) Judge

Nye had previously entered a Preliminary Order of Forfeiture forfeiting Welch’s interest in the

real properties named in this civil action, as Welch agreed in her Plea Agreement. (No. 2:20-

CR-00052-DCN, ECF No. 52; ECF No. 45 at 4 and 6-8.) The Government expects that any

interest beyond Ms. Welch’s in the properties will be addressed as part of the criminal third-party

ancillary proceedings. See Fed. R. Cr. P. 32.2(c); see also 21 U.S.C. § 853(n).

        Notification of Property Owners regarding Notice of Dismissal

        The United States previously notified property owners that it would move to stay the civil

case until after the criminal sentencing and that they were free to object or file a pleading; none

have objected thus far. The United States previously posted the properties and served the civil

complaint on the property owners. (See ECF No. 30 at 5 for details.) The United States will

email a copy of this Notice to property owners who are not receiving ECF notice.




UNITED STATES’ NOTICE OF DISMISSAL WITHOUT PREJUDICE AND STATUS
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        Notice of Dismissal

       No opposing party has served either an answer or a motion for summary judgment;

therefore, dismissal by notice and without prejudice is authorized by Federal Rule of Civil

Procedure 41(a)(1)(i). For these reasons, the United States files this Notice of Dismissal Without

Prejudice.




       DATED this 7th day of October, 2022.

                                                  JOSHUA D. HURWIT
                                                  UNITED STATES ATTORNEY
                                                  By:


                                                  /s/ Kevin T. Maloney
                                                  KEVIN T. MALONEY
                                                  Assistant United States Attorney




UNITED STATES’ NOTICE OF DISMISSAL WITHOUT PREJUDICE AND STATUS
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 7, 2022, the foregoing UNITED STATES’

NOTICE     OF    DISMISSAL       WITHOUT       PREJUDICE       AND       STATUS    UPDATE

REGARDING PARALLEL CRIMINAL CASE was electronically filed with the Clerk of the

Court using the CM/ECF system, and that a copy was served on the following parties or counsel

by:

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                                                  /s/ Catherine Lewers
                                                  Paralegal

UNITED STATES’ NOTICE OF DISMISSAL WITHOUT PREJUDICE AND STATUS
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